Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 1 of 11 Page ID #:505



        1    REGINA A. PETTY, SBN 106163
             rpetty@fisherphillips.com
        2    SHAUN J. VOIGT, SBN 265721
             svoigt@fisherphillips.com
        3    SEAN F. DALEY, SBN 272493
             sdaley@fisherphillips.com
        4    FISHER & PHILLIPS LLP
             444 South Flower Street, Suite 1500
        5    Los Angeles, California 90071
             Telephone: (213) 330-4500
        6    Facsimile: (213) 330-4501
        7    Attorneys for Defendant
             FEDEX GROUND PACKAGE SYSTEM, INC.
        8

        9                        UNITED STATES DISTRICT COURT
      10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
      11

      12     DOMINIQUE WASHINGTON,                    Case No: 2:19-cv-05226-MCS-KS
      13                       Plaintiff,
                                                      DEFENDANT FEDEX GROUND
      14             v.                               PACKAGE SYSTEM, INC.’S
                                                      NOTICE OF MOTION AND
      15     FEDEX GROUND PACKAGE                     MOTION IN LIMINE NO. 1 TO
             SYSTEM, INC., a Delaware                 BIFURCATE PUNITIVE DAMAGES
      16     corporation; and DOES through 20,        FROM LIABILITY AND EXCLUDE
             inclusive,,                              ALL ARGUMENT AND EVIDENCE
      17                                              REGARDING REFERENCE TO
                               Defendant.             DEFENDANT’S PROFITS OR
      18                                              FINANCIAL CONDITION IN FRONT
                                                      OF JURY; [PROPOSED] ORDER
      19
                                                      Final Pretrial Conference
      20
                                                      Date:          June 21, 2021
      21                                              Time:          2:00 p.m.
                                                      Location:      United States Courthouse
      22                                                             350 W. First Street
                                                                     Courtroom 7C, 7th Floor
      23                                                             Los Angeles, CA 90012
      24
                                                      Complaint Filed: May 14, 2019
      25                                              Trial Date:      July 13, 2021
      26
      27

      28


                                     DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 2 of 11 Page ID #:506




        1            TO THE HONORABLE COURT, PLAINTIFF DOMINIQUE
        2    WASHINGTON AND HER ATTORNEY OF RECORD:
        3            PLEASE TAKE NOTICE THAT on June 21, 2021, at 2:00 p.m., or as
        4    soon thereafter as it may be heard, Defendant FedEx Ground Package System, Inc.
        5    (“Defendant” or “FedEx Ground”), will, and hereby does, move this Court for an
        6    order bifurcating the trial in this action into two phases – liability and punitive
        7    damages – and precluding Plaintiff Dominique Washington (“Plaintiff”), her
        8    attorneys or witnesses, from (i) mentioning her claims for punitive damages to the
        9    jury during the liability phase, (ii) making reference to, or introducing evidence of,
      10     FedEx Ground’s purported “punitive” conduct, and (iii) making reference to, or
      11     introducing evidence of FedEx Ground’s financial condition during the liability
      12     phase. This motion will be made in the First Street Federal Courthouse before the
      13     Honorable Mark C. Scarsi, United States District Judge, located at 350 W. 1st
      14     Street, Los Angeles, California 90012, Courtroom 7C, 7th Floor.
      15             This motion is made pursuant to Rule 42(b) of the Federal Rules of Civil
      16     Procedure (“FRCP”) and Rules 403 of the Federal Rules of Evidence (“FRE”) on
      17     the grounds that evidence relating to punitive damages is confusing, irrelevant,
      18     prejudicial and unnecessary unless and until the jury returns a verdict allowing for
      19     the recovery of punitive damages and further will prevent the unnecessary expense
      20     and consumption of judicial time and resources. Moreover, the probative value of
      21     such evidence at the liability phase of trial is outweighed by the prejudicial effect.
      22             Defendant respectfully requests the order precluding the introduction of any
      23     such evidence to be made to apply from the beginning of jury selection and
      24     continue throughout the trial and requests the Court to instruct Plaintiff and her
      25     counsel not to refer to, interrogate any witness concerning, or comment on,
      26     including during voir dire, or present evidence of documents relating to the issue
      27     of punitive damages or FedEx Ground’s financial condition.
      28     ///
                                                       1
                                       DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 3 of 11 Page ID #:507




        1            This motion is based on this Notice of Motion and Motion, the Memorandum
        2    of Points and Authorities contained herein, the pleadings and papers on file in this
        3    action, and the argument of counsel presented at the hearing on the motion.
        4            As set forth in the attached Declaration of Sean F. Daley, pursuant to Local
        5    Rule 7-3, counsel for FedEx Ground timely met and conferred with Plaintiff’s
        6    counsel on this motion.
        7

        8     DATE: June 1, 2021                     FISHER & PHILLIPS LLP
        9

      10                                         By: /s/Sean F. Daley __________________
                                                    REGINA A. PETTY
      11                                            SHAUN J. VOIGT
                                                    SEAN F. DALEY
      12                                            Attorneys for Defendant
                                                    FEDEX GROUND PACKAGE
      13                                            SYSTEM, INC.
      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

      26
      27

      28

                                                       2
                                       DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 4 of 11 Page ID #:508




        1                    MEMORANDUM OF POINTS AND AUTHORITIES
        2    I.      INTRODUCTION
        3            Plaintiff Dominique Washington (“Plaintiff”) alleges claims against
        4    Defendant FedEx Ground Package System, Inc. (“Defendant” or “FedEx Ground”)
        5    for: 1) discrimination in violation of the California Fair Employment and Housing
        6    Act (“FEHA”); 2) retaliation in violation of FEHA; 3) failure to prevent
        7    discrimination and retaliation in violation of FEHA; (4) failure to provide
        8    reasonable accommodations in violation of FEHA; (5) failure to engage in a good
        9    faith interactive process in violation of FEHA; (6) wrongful termination in
      10     violation of public policy; and (7) declaratory judgment. Plaintiff seeks an award
      11     of damages, including an award for lost earnings and earnings capacity, emotional
      12     distress, reasonable attorneys’ costs and fees and punitive damages.
      13             Plaintiff was employed part-time by FedEx Ground from September 12,
      14     2016 to May 11, 2017 as a Package Handler at FedEx Ground’s Santa Fe Springs
      15     station. FedEx Ground terminated Plaintiff on May 11, 2017 because she had
      16     multiple unexcused absences between April 13, 2017 and May 10, 2017.
      17             Plaintiff was terminated pursuant to the Package Handler Attendance Policy
      18     which Plaintiff acknowledged and accepted. Her 30-day attendance history had
      19     approximately eleven infractions of the attendance policy. In her final week of
      20     employment, there were three consecutive unexcused days of absence (May 8,
      21     2017, May 9, 2017 and May 10, 2017).
      22             There is no direct evidence that FedEx Ground discriminated or retaliated
      23     against Plaintiff because she was pregnant because it did not do so. Neither Mr.
      24     Robledo nor Human Resources knew about Plaintiff’s pregnancy when she was
      25     terminated on May 11, 2017. Plaintiff did not submit any healthcare provider’s
      26     notes to excuse her from work or to limit her work schedule due to pregnancy. Mr.
      27     Robeldo did not know when he concurred with the termination decision on May
      28     10, 2017 that Plaintiff wanted time off relating to her pregnancy. Email
                                                      3
                                      DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 5 of 11 Page ID #:509




        1    correspondence from the Santa Fe Springs office administrator related to calls and
        2    messages from employees calling off from work do not show that Plaintiff
        3    disclosed to FedEx Ground any pregnancy related symptoms or an absence
        4    scheduled for the purpose of terminating her pregnancy. Plaintiff was ineligible for
        5    family medical leave under the FMLA or CFRA.
        6            Plaintiff’s punitive damages claim is unwarranted. Nevertheless, FedEx
        7    Ground anticipates that Plaintiff will prematurely attempt to refer to or introduce
        8    evidence pertaining to her claim for punitive damages while attempting to meet her
        9    burden of demonstrating FedEx Ground’s alleged liability. Such testimony and
      10     evidence is premature unless and until the jury first decides to impose liability, as
      11     well as potential punitive damages. If divulged before the jury, such evidence raises
      12     a possibility of substantial danger of undue prejudice and confusing or misleading
      13     the jury, regardless of any objection that may be made at trial. FRE 403.
      14             Judicial economy requires that Plaintiff first demonstrate FedEx Ground’s
      15     liability before introducing evidence that punitive damages are warranted, as such
      16     will avoid the unnecessary waste of judicial resources should the jury find in FedEx
      17     Ground’s favor on liability. This is especially the case given that even if Plaintiff
      18     could somehow prove malice, oppression, or fraud to warrant punitive damages,
      19     she cannot show employer ratification pursuant to California Civil Code § 3294(b)
      20     – a necessary showing for punitive damages. Furthermore, allowing Plaintiff to
      21     present evidence of punitive damages, which is irrelevant to FedEx Ground’s
      22     liability, will unfairly prejudice FedEx Ground.
      23             In light of the above, pursuant to FRCP 42(b) and FRE 403, FedEx Ground
      24     respectfully requests this Court issue an order in limine bifurcating the trial into
      25     two phases – liability and punitive damages – so that that punitive damages are not
      26     tried unless and until the jury returns a verdict holding FedEx Ground liable to
      27     Plaintiff for actual damages and finding, by clear and convincing evidence, that an
      28     officer, director, or managing agent of FedEx Ground is guilty of oppression, fraud,
                                                      4
                                      DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 6 of 11 Page ID #:510




        1    or malice. See Cal. Civ. Code § 3295(d); Coughlin v. Tailhook Ass’n, 112 F.3d
        2    1052, 1056 (9th Cir. 1997) (punitive damages claims arising under state law are
        3    subject to state law standards for recovery); see also California v. Altus Fin. S.A.,
        4    540 F.3d 992, 1000-01 (9th Cir. 2008) (applying California law to determination
        5    of availability of punitive damages).
        6            FedEx Ground further requests this Court preclude Plaintiff and her
        7    attorneys and witnesses from (i) mentioning her claims for punitive damages to the
        8    jury during the liability phase, (ii) making reference to, or introducing evidence of,
        9    FedEx Ground’s purported “punitive” conduct during the liability phase, and (iii)
      10     making reference to, or introducing evidence of FedEx Ground’s financial
      11     condition during the liability phase of trial.
      12     II.     LEGAL ARGUMENT
      13             A.      Fed. R. Civ. P. 42(b) Authorizes Bifurcation Of Trial On Punitive
      14                     Damages.
      15             Federal Rule of Civil Procedure, Rule 42(b) states:
      16             For convenience, to avoid prejudice, or to expedite and economize, the
      17             court may order a separate trial of one or more separate issues, claims,
                     cross-claims, counterclaims, or third party claims.
      18

      19     See Fed. R. Civ. P. 42(b).
      20             In considering a motion for separate trials, courts consider whether: (1) the
      21     issues are separable; (2) separate trials would lessen the risk of jury confusion; (3)
      22     separate trials would foster judicial economy; and (4) separate trials would avoid
      23     undue prejudice. A party requesting a separate trial needs to satisfy only one of the
      24     criteria enumerated in Fed. R. Civ. P. 42(b). Saxion v. Titan-C Mfg., Inc., 86 F.3d
      25     553, 556 (6th Cir. 1996) (bifurcation of liability and damages was not an abuse of
      26     discretion); Estate of Gonzalez v. Hickman, 2007 U.S. Dist. LEXIS 84390 *35 fn.
      27     18 (C. D. Cal. June 2007); Davis & Cox v. Summa Corp., 751 F.2d 1507, 1517 (9th
      28

                                                        5
                                        DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 7 of 11 Page ID #:511




        1    Cir. 1985) (court has broad discretion to bifurcate issues). Indeed, the court has
        2    broad discretion to order separate trials if doing so could avoid time-consuming
        3    and costly proceedings. Jinro America, Inc. v. Secure Investments, Inc., 266 F.3d
        4    993, 998 (9th Cir. 2001) (separate trial to determine which of two contracts
        5    controlled “was a reasonable way to promote clarity and judicial economy . . . .”);
        6    Zivkovic v. Southern Calif. Edison Co., 302 F.3d 1080, 1088 (9th Cir.2002).
        7            B.      Bifurcation Will Expedite The Trial And Avoid Jury Confusion
        8                    And Prejudice to FedEx Ground.
        9            FRCP Rule 42(b) authorizes district courts to bifurcate lawsuits into separate
      10     trials “in furtherance of convenience or to avoid prejudice,” or when separate trials
      11     “will be conducive to expedition and economy.” Larez v. City of Los Angeles, 946
      12     F.2d 630, 635, 640 (9th Cir.1991); In re Paoli R.R. Yard PCB Litig., 113 F.3d 444,
      13     452 n.5 (3rd Cir. 1997). Severance of the question of liability from other issues can
      14     “reduce the length of trial, particularly if the severed issue[s] [are] dispositive of
      15     the case, and can also improve comprehension of the issues and evidence.” Id.
      16     Here, in the interest of economy, bifurcation of the liability and damage phases of
      17     trial—and exclusion of testimony regarding punitive damages during the initial
      18     liability phase of trial—is appropriate, as resolution of the issue of FedEx Ground’s
      19     liability may prove to be dispositive of the entire action thereby precluding any
      20     need for exploration of Plaintiff’s alleged damages.
      21             In addition to serving the interests of judicial economy, bifurcation will
      22     avoid potential confusion of the jury and any prejudice FedEx Ground might be
      23     subjected to by way of the presentation of an inflated damages figure by Plaintiff
      24     during the liability phase of trial. To that point, courts routinely exclude evidence
      25     of defendants’ profits or financial condition from the jury in the absence of a verdict
      26     awarding damages or findings that support punitive damages. See, e.g., Brighton
      27     Collectibles, Inc. v. Renaissance Group Intern., 2008 WL 5500659, *6 (S.D. Cal.
      28     2008) (granting motion in limine to exclude evidence of defendant’s profits and
                                                        6
                                       DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 8 of 11 Page ID #:512




        1    financial condition unless jury awarded damages to plaintiff and found defendant
        2    guilty of malice, oppression or fraud); In re Homestore.com, Inc., 2011 WL
        3    291176, *1 (C.D. Cal. Jan. 25, 201l) (“Evidence of a party’s financial condition is
        4    generally not relevant and can be unduly prejudicial, as it can distract the jury from
        5    the real issues in the case.”); Rondor Music Int’l, Inc. v. TVT Records LLC, 2006
        6    U.S. Dist. LEXIS 97118, *37 (C.D. Cal. Aug. 21, 2006) (granting motion in limine
        7    to exclude “evidence at trial of the size, wealth, or financial condition of
        8    plaintiffs”); Draper v. Airco, Inc., 580 F.2d 91, 95 (3d Cir. 1978) (granting new
        9    trial in part because “[c]ounsel repeatedly made reference to the wealth of the
      10     defendants in contrast to the relative poverty of the plaintiff”); Koufakis v. Carvel,
      11     425 F.2d 892, 902 (2d Cir. 1970) (holding that remarks that “can be taken as
      12     suggesting that the defendant should respond in damages because he is rich and the
      13     plaintiff is poor” were grounds for new trial); L-3 Commc’ns Corp. v. OSI Sys.,
      14     Inc., No. 02 Civ. 9144(PAC), 2006 WL 988143, at *6 (S.D.N.Y. Apr. 13, 2006)
      15     (excluding evidence of witness’s wealth and lifestyle because it was “clearly
      16     irrelevant” and “its inclusion would be unfairly prejudicial”).
      17             In these situations, evidence and argument related to this information are
      18     bifurcated unless and until the court determines that the information should be seen
      19     by the jury. See id. In the instant case, evidence of FedEx Ground’s profits would
      20     be irrelevant to the jury’s inquiry and further would risk undue prejudice to FedEx
      21     Ground. If Plaintiff prevails on some but not all claims for relief, the jury’s job
      22     may be less confusing when determining the appropriate measure of damages. The
      23     question of liability, given the seven claims for relief and prayer for punitive
      24     damages, will require the jury to understand and differentiate the legal standard for
      25     each claim. In order to present that evidence, the jurors will hear various witnesses'
      26     accounts of events. Asking the jurors to then add the appropriate measure of
      27     damages depending on which claim they are considering may result in sufficient
      28     confusion for the jury to reach an inexplicable result. This could be avoided by
                                                       7
                                      DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 9 of 11 Page ID #:513




        1    separating the trials of liability and punitive damages. It should be noted that the
        2    risk of undue prejudice is especially high here, as punitive damages from FedEx
        3    Ground will only be available if Plaintiff is able to first pass the high hurdle of
        4    proving employer ratification pursuant to California Civil Code section 3294(b).
        5    FedEx Ground contends that Plaintiff will be unable to do so here. For these
        6    reasons, this Court should preclude Plaintiff from presenting any argument or
        7    evidence relating to FedEx Ground’s profits to the jury.
        8            Finally, because the issues of liability and damages involve entirely separate
        9    presentations of evidence and testimony, bifurcation will not result in the
      10     duplication of effort or undue consumption of time.
      11             C.      California Law Further Supports Bifurcation.
      12             The dispute between these parties is governed by California law. Pursuant to
      13     California Civil Code section 3295(d), a “court shall, on application of any
      14     defendant, preclude the admission of evidence of that defendant’s profits or
      15     financial condition until after the trier of fact returns a verdict for plaintiff awarding
      16     actual damages and finds that a defendant is guilty of malice, oppression, or fraud
      17     in accordance with Section 3294.” In other words, courts are instructed to bifurcate
      18     the issue of punitive damages, and preclude evidence of financial condition, unless
      19     and until a plaintiff first establishes its entitlement to punitive damages.
      20             Courts have held that the purpose of the bifurcation is to avoid the risk that
      21     defendants’ financial condition might taint the jury’s determination of the
      22     underlying liability and the issues of oppression, fraud, or malice. See, e.g.,
      23     Monclova-Chavez v. McEachern, (June 21, 2012) 2012 U.S.D.C. (E.D. Cal.); Medo
      24     v. Super. Ct., 205 Cal. App. 3d 64, 67-68 (1988). The time spent considering
      25     evidence of a defendant’s financial condition becomes wasted time if the jury
      26     subsequently finds that the defendant did not engage in the underlying wrongful
      27     conduct. See Westrec Marina Mgmt., Inc. v. Jardine Ins. Brokers Orange County,
      28     Inc., 85 Cal. App. 4th 1042,1050 (2000). Similarly, even if wrongful conduct is
                                                         8
                                       DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 10 of 11 Page ID #:514




        1    found, consideration of such evidence is a waste of time and resources, and
        2    substantially prejudicial to FedEx Ground, if Plaintiff does not establish by clear
        3    and convincing evidence, that an officer, director, or managing agent of FedEx
        4    Ground is guilty of oppression, fraud, or malice. These exact concerns have led
        5    courts to routinely exclude evidence relating to the amount of punitive damages
        6    during the liability phase of trial. See, e.g., Vasbinder v. Ambach, 926 F.2d 1333
        7    (2d Cir. 1991) (“Punitive damages are to be tailored to the defendant's ability to
        8    pay, and normally that class of evidence is not admitted or desirable during the
        9    liability and compensatory damages phase of the case.”).
      10             Therefore, FedEx Ground submits that under both Federal and California
      11     law, bifurcation of the liability and damage phases of trial is proper to promote
      12     economy and alleviate prejudice to FedEx Ground.
      13     III.    CONCLUSION
      14             For all of the above-stated reasons, FedEx Ground respectfully requests an
      15     order bifurcating the issues of liability and damages and further precluding Plaintiff
      16     from (i) mentioning her claims for punitive damages to the jury during the liability
      17     phase, (ii) making reference to, or introducing evidence of, FedEx Ground’s
      18     purported “punitive” conduct, and (iii) making reference to, or introducing
      19     evidence of FedEx Ground’s financial condition during the liability phase.
      20

      21      DATE: June 1, 2021                     FISHER & PHILLIPS LLP
      22

      23                                         By: /s/Sean F. Daley___________________
                                                     REGINA A. PETTY
      24                                             SHAUN J. VOIGT
                                                     SEAN F. DALEY
      25                                             Attorneys for Defendant
                                                     FEDEX GROUND PACKAGE
      26                                             SYSTEM, INC.
      27

      28

                                                       9
                                      DEFENDANT’S MOTION IN LIMINE NO. 1
19674.0261   FP 40664412.1
Case 2:19-cv-05226-MCS-KS Document 42 Filed 06/01/21 Page 11 of 11 Page ID #:515




        1                                   PROOF OF SERVICE
                                          (CCP § 1013(a) and 2015.5)
        2
                    I, the undersigned, am employed in the County of Los Angeles, State of
        3    California. I am over the age of 18 and not a party to the within action; am
             employed with Fisher & Phillips LLP and my business address is 444 South Flower
        4    Street, Suite 1500, Los Angeles, California 90071.
        5          On June 1, 2021, I served the foregoing document entitled DEFENDANT
             FEDEX GROUND PACKAGE SYSTEM, INC.’S NOTICE OF MOTION
        6    AND MOTION IN LIMINE NO. 1 TO BIFURCATE PUNITIVE DAMAGES
             FROM LIABILITY AND EXCLUDE ALL ARGUMENT AND EVIDENCE
        7    REGARDING REFERENCE TO DEFENDANT’S PROFITS OR
             FINANCIAL CONDITION IN FRONT OF JURY; [PROPOSED] ORDER
        8    on all the appearing and/or interested parties in this action by placing the
             original     a true copy thereof enclosed in sealed envelope(s) addressed as
        9    follows:
      10
              Kaveh S. Elihu, Esq.                         Attorney for Plaintiff
      11      EMPLOYEE JUSTICE LEGAL GROUP                 DOMINIQUE WASHINGTON
              3055 Wilshire Boulevard, Suite 1120
      12      Los Angeles, CA 90010                        Tel: 213.382.2222
                                                           Fax: 213.382.2230
      13                                                   E-mail: kelihu@ejlglaw.com;
                                                           dfriedman@ejlglaw.com;
      14                                                   hortiz@ejlglaw.com

      15
                    [by ELECTRONIC SERVICE] - Based on a court order or an agreement
      16             of the parties to accept service by electronic transmission, I caused the
                     documents to be sent to the persons at the electronic notification address
      17             listed above.
      18            [by PERSONAL SERVICE] - I caused to be delivered by messenger such
                     envelope(s) by hand to the office of the addressee(s). Such messenger is
      19             over the age of eighteen years and not a party to the within action and
                     employed with Express Network, whose business address is 1605 W.
      20             Olympic Boulevard, Suite 800, Los Angeles, CA 90015.
      21            I declare under penalty of perjury under the laws of the State of California
             that the foregoing is true and correct.
      22

      23             Executed June 1, 2021, at Los Angeles, California.
      24       Mayra Hernandez                      By: /s/Mayra Hernandez
                             Print Name                                   Signature
      25

      26
      27

      28

                                                     10
                                               PROOF OF SERVICE
19674.0261   FP 40664412.1
